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Wayne T. Evans

 
 
 
  

3262 N. Garey Ave. #193 AIG OCT 21 PM 3:53
Pomona, Ca 91767 CLERK U.S, DISTRICT COURT
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NP Fax IN THE UNITED STATES DISTRICTSGOURT oe
FOR THE Ceyt-a| DISTRICT OF CALIFORNIA*
RIVERSIDE DIVISION
vanerevans ED OVA@nM2226 Cay
Plaintiff ; ee
) COMPLAINT
v. )
TORRES CREDITS SERVICES, INC.
ET...AL, DOES 1-| D  inctusive
Defendants.
)
) DEMAND FOR JURY TRIAL
)
)
)

 

Plaintiff, Wayne T. Evans alleges as follows:

The Parties

1. At all times hereinafter mentioned, plaintiff is and was a resident of Pomona, California.
2. Defendant Torres Credits Services, Inc.is a corporation incorporated under the laws of
New York Corporation and having a main office at 27 Fairview Street, Carlisle PA 17015-
3112

3. Defendant Torres Credits Services, Inc., is not registered with the California Secretary
of State as a New York Corporation doing business in California and has no designated a

registered agent.

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2 || Jurisdiction

3 4. The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681 et seq.,
4 || the “Fair Credit Reporting Act (FCRA) and 15 U.S.C. §§ 1692-1692p, the “Fair Debt

5 || Collection Practices Act.”

6 || Defendant’s Statutory Violations

7 5. The Defendant is reporting derogatory information about Plaintiff to one or more
8 || consumer reporting agencies (credit bureaus) as defined by 15 U.S.C. § 1681a.

9 6. Plaintiff has disputed the accuracy of the derogatory information reported by the

10 || Defendant to the Consumer Reporting Agency Experian on four separate occasions via

11 |} certified mail. See attachments.

12 7. Defendant has not responded to Plaintiff’s four letters of dispute by providing

13 |) evidence of the alleged debt to Plaintiff nor to the Consumer Reporting Agency Experian.
14 8. Defendant has not provided notice of this disputed matter to the credit bureaus
15 || and is therefore in violation of 15 U.S.C. § 1681s-2 which requires this notice.

16 9. Defendant has failed to comply with 15 U.S.C. § 1692g in that it has not within
17 || five days of Plaintiff's initial communication (nor at any other time) sent Plaintiff written
18 || documentation of the amount of the debt, the name of the original creditor nor other

19 || information required by the Fair Credit Reporting Act.

20 10. Defendant has failed to complete an investigation of Plaintiffs written dispute
21 || and provide the results of an investigation to Plaintiff within the 30-day period as required
22 i|by 15 U.S.C. § 1681s-2.

23 11. Defendant has not notified Plaintiff of any determination that Plaintiff's dispute
24 |/is frivolous within the five days required by 15 U.S.C. § 1681s-2, nor at any other time.

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Prayer for Relief
12. WHEREFORE,

Plaintiff seeks a reasonable and fair judgment against the defendant for willful
noncompliance with the Fair Credit Reporting Act and seeks his statutory remedies as
defined by 15 U.S.C. § 1681n and demands:
$1,000 for actual damages
$50,000 in punitive damages
Permanent injunction against the Defendant from reporting derogatory information about
Plaintiff to Consumer Reporting Agencies (credit bureaus)

Permanent injunction against Defendant for selling this alleged debt to any other party
Any further relief which the court may deem appropriate.

Respectfully Submitted,

Wayne T. Evans

Plaintiff, Pro Se

3262 N. Garey Ave. # 193

Pomona, California 91767

(949) 291-2461

email address
wevans61@yahoo.com

Dated: October 17, 2016 '

 

Wayne T. Evans
Pro Se

 

 

 
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PROOF OF SERVICE BY MAIL

I, Jeffrey Antes, declare as follows:

Iam over eighteen (18) years of age and not a party to the within action. My business
address is 1520 S. Highland Ave Apt B Fullerton, CA 92832. I served a copy of the
attached Complaint to each of the following, by placing a true copy thereof ina sealed
envelope with postage fully prepaid, in the United States mail at Fullerton, California,

addressed as follows:

TORRES CREDITS SERVICES, INC.

DAVID J. BUCHER CHIEF EXECUTIVE OFFICER
27 FAIRVIEW ST

STE 301

CARLISLE, PENNSYLVANIA, 17015

Tel:
Fax:

Each said envelope was then, on October 17, 2016, sealed and deposited in the
United States mail at Fullerton, California, in the County of Orange in which I am
employed. I declare, under penalty of perjury of the laws of the State of California, that
the foregoing is true and correct, and that this Declaration was executed this 17th day
of October 2016 at Fullerton, California.

 

i] Jeffrey Antes

 

 

 
